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                        EXHIBIT A
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                  DONAHUE. DURHAM & NOONAN, P.C.

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                                                                                       Suite 306
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                                                                                       Tel (203) 458-9168
                                                                                       Fax (203) 458-4424




Via Email: wpalmieri@hotmaiLcom

                                              May 23, 2013

William S. Palmieri, Esq.
129 Church Street, Suite 405
New Haven, CT 06510

        Re:     Donovan v. Yale University

Dear Attorney Palmieri:

        In her May 22, 2013 order, Judge Bryant requested for the second time that we file a Joint
Statement of Undisputed Facts. I have enclosed a Joint Statement of Undisputed Facts outlining the
dates of events relevant to the determination of the Court's jurisdiction over this matter. Please sign
and return the statement to me so that I may file it with the Court. Thank you.



                                                     Very truly yours,

                                                             lsi

                                                     Colleen Noonan Davis

CNDlcd
Encs.
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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF CONNECTICUT

MARTIN J. DONOVAN

      Plaintiff                                                      CIVil ACTION NO.:
                                                                     3:12 CV00549 (VlB)
vs.

YALE UNIVERSITY

      Defendant                                                      MAY 23,2013

                    JOINT STATEMENT OF UNDISPUTED FACTS

      The parties submit the following statement of undisputed facts.

      1.     On August 23, 2010, the plaintiff was terminated from his position

as Clinical Administrator in the Department of Ophthalmology. At that time, he

was temporarily assigned to the Medical School Financial Operations.                      The

plaintiff was informed that his employment with the defendant would terminate

at the end of the 90 day temporary assignment. See, Exhibit A to Affidavits of

Cynthia Walker and James Tsai, M.D.

      2.     On November 15, 2010, the plaintiffs last day of employment with

the defendant was extended to February 28, 2011. See, Exhibit B to Affidavit of

Cynthia Walker.

      3.     On February 21, 2011, the plaintiff's last day of employment with

the defendant was extended to March 31, 2011. See, Exhibit C to Affidavit of

Cynthia Walker.



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      4.     On April 8, 2011, the Connecticut Commission of Human Rights

and Opportunities received the plaintiff's Affidavit of Illegal Discrimination,

which was dated April 1, 2011 and notarized on April 7, 2011. See, Exhibit A to

Local Rule 56(a)(1) Statement.

      5.     February 19, 2011, a Saturday, was the 180th day following August

23,2010.

      6.     On September 30, 2011, the Connecticut Commission on Human

Rights and Opportunities completed its Merit Assessment Review and retained

the plaintiff's complaint for investigation.    A copy of the Merit Assessment

Review is attached hereto as Exhibit A.

      7.     On January 17, 2012, the Connecticut Commission on Human

Rights and Opportunities released its jurisdiction over the plaintiff's complaint.

A copy of the Release of Jurisdiction is attached hereto as Exhibit B.

      8.     On April 12, 2012, the plaintiff filed his complaint with the United

States District Court for the District of Connecticut.




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                                   THE PLAINTIFF


                             BY:, __________________________
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                                   Federal Bar No. Ctl 4361
                                   Law Offices of William S. Palmieri, L.L.C.
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                                   His Attorney




                                   THE DEFENDANT
                                   YALE UNIVERSITY


                             BY:      lsI Patrick M. Noonan (#ct00189)
                                   Patrick M. Noonan
                                   Colleen Noonan Davis (#27773)
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                                 CERTIFICATION

      I hereby certify that, on the above-written date, a copy of the foregoing
Joint Statement of Undisputed Facts was filed electronically and served by mail
on anyone unable to accept electronic filing. Notice of this filing will be sent by
e-mail to all parties by operation of the court's electronic filing system or by
mail to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing. Parties may access this filing through the court's CM/ECF
System.




                                                     lsI
                                             Patrick M. Noonan




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